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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
SECURITIES AND EXCHANGE                    )
COMMISSION,                                )
                                           )
                        Plaintiff,         )
                                           )
                  v.                       ) No. 1:23-cv-01599-ABJ-ZMF
                                           )
BINANCE HOLDINGS LIMITED,                  )
BAM TRADING SERVICES INC.,                 )
BAM MANAGEMENT US HOLDINGS                 )
INC., AND CHANGPENG ZHAO,                  )
                                           )
                        Defendants.        )
__________________________________________)

       PLAINTIFF SECURITIES AND EXCHANGE COMMISSION’S NOTICE
     OF DOCUMENTS INCORPORATED BY REFERENCE IN THE COMPLAINT

       Plaintiff Securities and Exchange Commission (“SEC”) respectfully submits this Notice

of documents it believes are incorporated by reference in the SEC’s Complaint (Dkt. No. 1), per

the Court’s January 10, 2024 minute order.


                                                        Complaint
            Incorporated Document                                               Hyperlink
                                                        Paragraph

 1.    Plaintiff considers the entire
 Binance.com website as incorporated in the
 Complaint, including the following:

    a. “Terms of Use,” Binance.com (Feb. 8,           Compl. ¶¶ 126,      Binance.com Terms of
       2023)                                            153, 244                Use.pdf

                                                     Compl. ¶¶ 82, 83,
    b. Binance Exchange, Whitepaper V1.1                                   BNB White Paper v.
                                                      290-92, 294-95,
       (June 16, 2017)                                                         1.1.pdf
                                                           298




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                                                                    What Is BNB Auto-
c. “What is BNB Auto Burn,” Binance.com
                                                 Compl. ¶ 295        Burn_ _ Binance
   (Jan. 12, 2022)
                                                                      Academy.pdf
                                                                      Introduction to
d. “Introduction to Binance Simple Earn,”
                                                 Compl. ¶ 328         Binance Simple
   Binance.com (Sept. 22, 2022)
                                                                         Earn.pdf

e. “Binance Launches BNB Vault – Earn                                Binance Launches
   Daily Income from the BNB                     Compl. ¶ 332        BNB Vault - Earn
   Ecosystem,” Binance.com (Nov. 3, 2020)                               Daily...pdf

                                                                     Introducing BNB
f. “Introducing BNB Vault: One-Click                                 Vault_ One-Click
   Earning for Your BNB Holdings,”               Compl. ¶ 334      Earning for Your BNB
   Binance Blog (Nov. 2, 2020)                                      Holdings _ Binance
                                                                          Blog.pdf
                                                                      Crypto Staking
g. “Crypto Staking: Definition, Benefits,
                                               Compl. ¶¶ 339-51     Definition, Benefits,
   and Tips,” Binance Blog (June 7, 2022)
                                                                       and Tips.pdf

                                                                     How to buy BNB
h. “How to buy BNB (BNB) Guide,”
                                               Compl. ¶¶ 287-314      (BNB) Guide –
   Binance.com (June 7, 2023)
                                                                       Binance.pdf

i. “BNB Vault Binance Tutorial,”                                        BNB Vault
                                               Compl. ¶¶ 331-37
   Binance.com                                                          Video.wmv

j. “BNB Vault: One-click to earn multi-
                                               Compl. ¶¶ 282-86,    BNB Vault _ One-
   benefits with BNB,” Binance.com (April
                                                   325-38            click to earn.pdf
   2, 2023)

k. “BNB/USDT Spot Trade, Info,”
   Binance.com (as of June 5, 2023, last       Compl. ¶¶ 287-314   Info_BNB Capture.pdf
   accessed Jan. 15, 2024)

                                                                   What Is Binance Earn
l. “What Is Binance Earn and How to Use
                                               Compl. ¶¶ 315-24    and How to Use It _
   It,” Binance.com (Oct. 30, 2020)
                                                                   Binance Support.pdf




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                                                                         Convert Cash to
m. “Convert Cash to BUSD to Earn up to
                                                                       BUSD to Earn up to
   15% Interest,” Binance Blog (Mar. 1,         Compl. ¶¶ 315-24
                                                                      15% Interest _ Binance
   2020)
                                                                            Blog.pdf

n. “Grow Your Crypto with a Rewards Rate
   of Up to 12.50 %,” Binance.com (as of        Compl. ¶¶ 315-24        Grow Your Crypto
   June 5, 2023, last accessed Jan. 15, 2024)



o. “Binance DeFi Staking Launches BUSD                                Binance DeFi Staking
   High-Yield Activity with Up to 13.33%        Compl. ¶¶ 315-24        Launches BUSD
   APY,” Binance.com (Mar. 24, 2022)                                  High...ith Up to 13.pdf



p. “Launchpad vs. Launchpool: Which One           Compl. ¶¶ 338,
                                                                         Launchpad vs.
   Drives More Crypto Growth?,”                 441, 445, 497, 500-
                                                                         Launchpool.pdf
   Binance.com (June 28, 2021)                          02


                                                                      What Is Binance DeFi
q. “What Is Binance DeFi Staking and How
                                                Compl. ¶¶ 339-51       Staking and How to
   to Use It,” Binance.com (Aug. 19, 2020)
                                                                            Use It.pdf

r. “ETH Staking & ETH Proof-of-Stake
                                                                       ETH Staking & ETH
   FAQs (7 months ago),” Binance.com (as
                                                Compl. ¶¶ 339-43      Proof-of-Stake FAQs –
   of June 5, 2023, last accessed Jan. 15,
                                                                           Binance.pdf
   2024)

s. “Solana/USDT Spot Trade, Info,”
                                                                           Info_Solana
   Binance.com (as of June 5, 2023, last          Compl. ¶ 364
                                                                           Capture.pdf
   accessed Jan. 15, 2024)

                                                                       How to buy Solana
t. “How to buy Solana (SOL) Guide –
                                                  Compl. ¶ 364          (SOL) Guide –
   Binance,” Binance.com (Feb. 3, 2023)
                                                                           Binance

                                                                       How to buy Cardano
u. “How to Buy Cardano (ADA) Guide,”
                                                Compl. ¶¶ 378-83         (ADA) Guide –
   Binance.com (Apr. 4, 2023)
                                                                           Binance.pdf



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v. “ADA/USDT Spot Trade, Info,”
   Binance.com (as of June 5, 2023, last        Compl. ¶¶ 378-83    Info_ADA Capture.pdf
   accessed Jan. 15, 2024)

w. “MATIC/USDT Spot Trade, Info,”
                                                                        Info_MATIC
   Binance.com (as of June 5, 2023, last        Compl. ¶¶ 384-98
                                                                         Capture.pdf
   accessed Jan. 15, 2024)

                                                                    How to buy Polygon
x. “How to Buy Polygon (MATIC) Guide,”
                                                Compl. ¶¶ 384-98     (MATIC) Guide –
   Binance.com (Mar. 14, 2023)
                                                                    Binance Wayback.pdf

                                                                     How to buy Filecoin
y. “How to Buy Filecoin (FIL) Guide,”
                                                Compl. ¶¶ 399-426      (FIL) Guide –
   Binance.com (Nov. 11, 2022)
                                                                        Binance.pdf

z. “FIL/USDT Spot Trade, Info,”
   Binance.com (as of June 5, 2023, last        Compl. ¶¶ 399-426   Info_FIL Capture.pdf
   accessed Jan 15, 2024)

                                                                     How to buy Cosmos
aa. “How to Buy Cosmos (ATOM) Guide,”
                                                Compl. ¶¶ 427-37      (ATOM) Guide –
    Binance.com (May 28, 2023)
                                                                        Binance.pdf

bb. “ATOM/USDT Spot Trade, Info,”
                                                                        Info_ATOM
    Binance.com (as of June 5, 2023, last       Compl. ¶¶ 427-37
                                                                         Capture.pdf
    accessed Jan. 15, 2024)

                                                                       How to buy The
cc. “How to Buy the Sandbox (SAND)
                                                Compl. ¶¶ 438-50      Sandbox (SAND)
    Guide,” Binance.com (Mar. 13, 2023)
                                                                     Guide – Binance.pdf

dd. “SAND/USDT Spot Trade, Info,”
                                                                        Info_SAND
    Binance.com (as of June 5, 2023, last       Compl. ¶¶ 438-50
                                                                        Capture.pdf
    accessed Jan. 15, 2024)


                                                                         How to buy
ee. “How to Buy Decentraland (MANA)
                                                Compl. ¶¶ 451-64    Decentraland (MANA)
    Guide,” Binance.com (Nov. 21, 2022)
                                                                     Guide – Binance.pdf



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   ff. “MANA/USDT Spot Trade, Info,”
                                                                           Info_MANA
       Binance.com (as of June 5, 2023, last       Compl. ¶¶ 451-64
                                                                            Capture.pdf
       accessed Jan. 15, 2024)

                                                                       How to buy Algorand
   gg. “How to Buy Algorand (ALGO) Guide,”
                                                   Compl. ¶¶ 465-85     (ALGO) Guide –
       Binance.com (Nov. 25, 2022)
                                                                          Binance.pdf

   hh. “ALGO/USDT Spot Trade, Info,”
                                                                            Info_ALGO
       Binance.com (as of June 5, 2023, last       Compl. ¶¶ 465-85
                                                                            Capture.pdf
       accessed Jan. 15, 2024)

                                                                          How to buy Axie
   ii. “How to Buy Axie Infinity (AXS)
                                                   Compl. ¶¶ 486-95    Infinity (AXS) Guide –
       Guide,” Binance.com (Nov. 21, 2022)
                                                                             Binance.pdf


   jj. “AXS/USDT Spot Trade, Info,”
                                                   Compl. ¶¶ 486-95    Info_AXS Capture.pdf
       Binance.com (last visited Jan. 15, 2024)


                                                                         How to buy COTI
   kk. “How to Buy COTI (COTI) Guide,”
                                                   Compl. ¶¶ 496-509      (COTI) Guide –
       Binance.com (Nov. 24, 2022)
                                                                            Binance.pdf

   ll. “COTI/USDT Spot Trade Info,”
                                                                            Info_COTI
       Binance.com (as of June 5, 2023, last       Compl. ¶¶ 496-509
                                                                            Capture.pdf
       accessed Jan. 15, 2024)


    2. Plaintiff considers the entire Binance.US
website as incorporated in the Complaint,
including the following:



   a. Binance.US Trading “Terms of Use,”            Compl. ¶¶ 126,     2023_05_05_Binance.
      Binance.US (May 5, 2023)                      153, 244, 346      US Terms of Use.pdf


   b. Binance.US Platform “Trading Rules,”          Compl. ¶¶ 233,        BAM Platform
      Binance.US (Sept. 18, 2019)                      244-45            Trading Rules.pdf




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   c. “Staking on Binance.US - Frequently                               Staking on Binance.US
      Asked Questions (4 months ago                                       - Frequently Asked
                                                   Compl. ¶¶ 339-51
      Updated),” Binance.US (last accessed                                    Questions –
      Jan 15, 2024)                                                           Binance.pdf


   d. “Crypto Staking: Earn Rewards on                                  Crypto Staking_ Earn
      Binance.US,” Binance.US (as of June 5,         Compl. ¶ 344           Rewards on
      2023, last accessed Jan 15, 2024)as                                 Binance.US.pdf


                                                                            How to Stake,
   e. “How to Stake, Unstake, & Manage
                                                                         Unstake, & Manage
      Staking Rewards on Binance.US (7
                                                   Compl. ¶¶ 339-51      Staking Rewards on
      months ago Updated),” Binance.US (last
                                                                            Binance.US –
      visited Jan. 15, 2024)
                                                                             Binance.pdf


                                                                             MATIC
   3. “Matic Whitepaper Version 1.1,” Matic        Compl. ¶¶ 387, 390
                                                                           Whitepaper.pdf


    4. “Filecoin: A Cryptocurrency Operated                                  Filecoin
                                                     Compl. ¶ 400
File Storage Network,” Protocol Labs                                       Whitepaper.pdf

                                                                            Whitepaper -
   5. “Cosmos Whitepaper: A Network of
                                                                         Resources - Cosmos
Distributed Ledgers,” Cosmos (as of June 1,          Compl. ¶ 436
                                                                           Network June 1
2023)
                                                                              2023.pdf

   6. “The Sandbox: Play. Create. Own.                                  The_Sandbox_Whitep
                                                     Compl. ¶ 445
Govern. Earn,” Sandbox (2020)                                              aper_2020.pdf


    7. “Decentraland: A blockchain-based                                    Decentrland
                                                     Compl. ¶ 461
virtual world”, Decentraland                                               Whitepaper.pdf

                                                                         Axie Infinity - Axie
   8. Axie Infinity Whitepaper (last updated
                                                     Compl. ¶ 494              Infinity
Nov. 2021)
                                                                          Whitepaper.pdf




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